        Case: 1:22-cv-00458-JDA Doc #: 22 Filed: 10/07/22 1 of 1. PageID #: 231




                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT COURT OF OHIO
                                         EASTERN DIVISION


Garon Petty, et al .                                    Case No .: 1 :22 -CV- 00458


                          Plaintiffs,                   Judge Christopher A. Boyko
VS.                                                     Magistrate Judge Jennifer Dowell Armstrong


                                                        STIPULATION OF DISMISSAL
Mary Springowski , et al .


                          Defendants .


          We the undersigned hereby stipulate to the dismissal of all remaining claims (subsequent

to Magistrate's decision) pending in the above captioned action pursuant to Rule 41 of Civil

Procedure.

      / s / Robert J.                                   / s / Richard D. Panza
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                                           Proof of Service

                                                                                 7th
          A true copy of this Notice of Dismissal has been sent by email this          day of October,

2022 to :

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